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                                             ORDERED.

          Dated: November 18, 2019




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION
                                        www.flmb.uscourts.gov


In re :                                                                       Case No. 6:18-bk-05950-CCJ
                                                                              Chapter 7

Rodolfo Terrazas, Sr.,
                        Debtor(s).
____________________________________/

     AGREED ORDER GRANTING TRUSTEE’S MOTION TO APPROVE SALE OF ESTATE’S
       INTEREST IN NON-HOMESTEAD REAL ESTATE IN LAKE COUNTY, FLORIDA

           This case came before the Court on Trustee’s Motion for Order Approving Sale of Estate’s Interest
in Non-Homestead Real Estate in Lake County, Florida, dated October 9, 2019, (docket no. 28), and
Deutsche Bank National Trust Company’s Limited Objection to Motion for Order Approving Sale of
Estate’s Interest in Non-Homestead Real Estate in Lake County, Florida, dated November 1, 2019, (docket
no. 29). Said Motion was served on all interested parties with the Local Rule 2002-4 negative notice legend
informing parties of their opportunity to respond within 21 days of the date of service; and no party has
filed a response within the time permitted, aside from the objection noted above. Therefore, the Court
considers the matter to be unopposed and having reviewed the Motion, the file, and being otherwise
apprised of the matter
           Accordingly, it is

      ORDERED that the Motion for Order Approving Sale of Estate’s Interest in Non-Homestead Real
      Estate in Lake County, Florida, is approved, and the Trustee is authorized to sell the estate’s interest in
      said property, as follows :

1.    The property to be sold is more particularly described as :
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    Lot 233, THE CASCADES OF GROVELAND – PHASE 1, according to the plat thereof as
    recorded in Plat Book 54, Pages 52 through 65, inclusive, of the Public Records of Lake County,
    Florida.

    Parcel ID No. 26-21-25-2000-000-23300
    a/k/a 163 Crepe Myrtle Drive, Groveland, FL 34736


3. The property shall be sold to the following buyer for the sales price indicated :

                                                                                       Sales Price
Carobelle’s Cottages, LLC                                                              $ 222,500.00
13345 Rainbow Ln.
Clermont, FL 34715

4. The Trustee has represented that no closing costs are to be paid by the Estate and has obtained short sale
approval from the first mortgage holder who has authorized the following to be paid from the sales price :
normal closing costs, realtor fees and costs, sums necessary to satisfy an existing mortgage, prorated 2019
real estate taxes, delinquent homeowners association dues, and bankruptcy estate carve out as described in
the Motion.
5. Trustee is authorized to transfer title to the property by Trustee’s Deed, conveying the interest of the
estate, subject to all encumbrances, including current taxes, assessments, zoning, restrictions, and other
requirements imposed by governmental authorities, restrictions and other matters appearing on the plat or
otherwise common to the subdivision and/or condominium, and public utility easements of record.
6. The Estate shall provide to buyer, a certified copy of the Order approving sale, certified copy of Notice
of Commencement and certified copy of docket, reflecting no objection to the sale, or if any, that said
objections have been overruled by Court Order.
7. The 14-day stay pursuant to Rule 6004(h) is hereby waived.
8. The terms and conditions of the Short Sale and Discounted Payoff Agreement are approved. The Short
Sale may be subject to denial if payoff funds and closing documents are not received by the approval
deadline or any written extension thereof.


                /s/ Kristen L. Henkel                      /s/ April Harriott
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Attorney Kristen L. Henkel is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.
